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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

  In re:                                                        PROMESA
  THE FINANCIAL OVERSIGHT AND                                   Title III
  MANAGEMENT BOARD FOR PUERTO RICO,
                                                                No. 17 BK 3283-LTS
          as representative of
                                                                (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et
  al.,

                                    Debtors.1




  NOTICE OF CORRESPONDENCE REGARDING THE THREE HUNDRED SEVENTY-
  FOURTH OMNIBUS OBJECTION (SUBSTANTIVE) OF THE COMMONWEALTH OF
     PUERTO RICO, THE PUERTO RICO SALES TAX FINANCING AUTHORITY,
    THE PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY, THE
       EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
      COMMONWEALTH OF PUERTO RICO, AND THE PUERTO RICO PUBLIC
              BUILDINGS AUTHORITY TO LATE-FILED CLAIMS

  To the Honorable United States District Judge Laura Taylor Swain:

         1.      On August 20, 2021, the Commonwealth of Puerto Rico (“Commonwealth”), the

  Puerto Rico Sales Tax Financing Authority (“COFINA”), the Puerto Rico Highways and

  Transportation Authority (“HTA”), the Employees Retirement System of the Government of the



  1
     The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
  and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
  the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK 3283-
  LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
  (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
  (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK
  3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
  Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-
  LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
  (“PREPA” and together with the Commonwealth, COFINA, HTA, and ERS, the “Debtors”)
  (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747) (Title III case
  numbers are listed as Bankruptcy Case numbers due to software limitations).
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  Commonwealth of Puerto Rico (“ERS”), and the Puerto Rico Public Buildings Authority (“PBA,”

  and together with the Commonwealth, COFINA, HTA, and ERS, the “Debtors”), as the sole Title

  III representative of the Debtors pursuant to section 315(b) of the Puerto Rico Oversight,

  Management, and Economic Stability Act (“PROMESA”), 2 filed the Three Hundred Seventy-

  Fourth Omnibus Objection (Substantive) of the Commonwealth of Puerto Rico, the Puerto Rico

  Sales Tax Financing Authority, the Puerto Rico Highways and Transportation Authority, the

  Employees Retirement System of the Government of the Commonwealth of Puerto Rico, and the

  Puerto Rico Public Buildings Authority to Late-Filed Claims [ECF No. 17923] (the “Three

  Hundred Seventy-Fourth Omnibus Objection”).

           2.       The Three Hundred Seventy-Fourth Omnibus Objection seeks to disallow certain

  proofs of claim that were late-filed and, accordingly, failed to comply with the terms of the

  applicable Bar Date Orders 3 (collectively, the “Claims to Be Disallowed”), each as listed on

  Exhibit A thereto. As set forth in the Three Hundred Seventy-Fourth Omnibus Objection and

  supporting exhibits thereto, the Claims to Be Disallowed were filed after the applicable Bar Date:

  (i) June 29, 2018 at 4:00 p.m. (Atlantic Time), for creditors of the Commonwealth, COFINA,

  HTA, and ERS, or (ii) July 29, 2020 at 4:00 p.m. (Atlantic Time), for creditors of PBA.

  Accordingly, pursuant to the terms of the Bar Date Orders, each of the holders of the Claims to Be

  Disallowed are barred from asserting a claim against the Debtors, and the Debtors are discharged

  from any and all liabilities to such claimants.

           3.       The Debtors have received correspondence from:

                •   Gladys Minguela Vázquez (“Minguela Vázquez”), attached hereto as Exhibits “A”
                    (the “First Minguela Vázquez Response”) and “B” (the “Second Minguela Vázquez

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      PROMESA is codified at 48 U.S.C. §§ 2101-2241.
  3
   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
  Three Hundred Seventy-Fourth Omnibus Objection.


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              Response,” and together with the First Minguela Vázquez Response, the “Minguela
              Vázquez Responses”) regarding Proofs of Claim Nos. 179355 (the “First Minguela
              Vázquez Claim”) and 179367 (the “Second Minguela Vázquez Claim”);

          •   William Roman Morales (“Roman Morales”), attached hereto as Exhibit “C” (the
              “Roman Morales Response”), regarding Proofs of Claim Nos. 178943 (the “First
              Roman Morales Claim”) and 179392 (the “Second Roman Morales Claim,” and
              together with the First Roman Morales Claim, the “Roman Morales Claims”);

          •   Celia Pilar Santiago Ortiz (“Santiago Ortiz”), attached hereto as Exhibit “D” (the
              “Santiago Ortiz Response”), regarding Proof of Claim No. 179439 (the “Santiago
              Ortiz Claim”);

          •   Ana Luna Ríos (“Luna Ríos”), attached hereto as Exhibit “E” (the “Luna Rios
              Response”), regarding Proof of Claim No. 174092 (the “Luna Ríos Claim”);

          •   Maria V. Rosario Cuevas (“Rosario Cuevas”), attached hereto as Exhibit “F” (the
              “Rosario Cuevas Response”), regarding Proof of Claim No. 173790 (the “Rosario
              Cuevas Claim”);

          •   Edith Agostini Aviles (“Agostini Aviles), attached hereto as Exhibit “G” (the
              “Agostini Aviles Response”), regarding Proof of Claim No. 165427 (the “Agostini
              Aviles Claim”);

          •   Ana Maria Arocho González (“Arocho González”), attached hereto as Exhibit “H”
              (the “Arocho González Response”) regarding Proof of Claim No. 152213 (the
              “Arocho González Claim”);

          •   Carmen G. Colón Maldonado (“Colón Maldonado”), attached hereto as Exhibit “I”
              (the “Colón Maldonado Response”), regarding Proof of Claim No. 113161 (the
              “Colón Maldonado Claim”);

          •   Iris García Santiago (“García Santiago”), attached hereto as Exhibit “J” (the
              “García Santiago Response”), regarding Proof of Claim No. 168000 (the “García
              Santiago Claim”);

          •   Alejandro J. Irizarry Irizarry (“Irizarry Irizarry”), attached hereto as Exhibit “K”
              (the “Irizarry Irizarry Response”), regarding Proof of Claim No. 153293 (the
              “Irizarry Irizarry Claim”);

          •   Juan P. Lugo Ruberte (“Lugo Ruberte”), attached hereto as Exhibit “L” (the “Lugo
              Ruberte Response”), regarding Proof of Claim No. 168595 (the “Lugo Ruberte
              Claim”);

          •   Jose R. Ortiz Solis (“Ortiz Solis”), attached hereto as Exhibit “M” (the “Ortiz Solis
              Response”), regarding Proof of Claim No. 171301 (the “Ortiz Solis Claim”); and


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               •   Amilda Pérez Nieves (“Pérez Nieves”), attached hereto as Exhibit “N” (the “Pérez
                   Nieves Response,” and together with the Minguela Vázquez Response, the Roman
                   Morales Response, the Santiago Ortiz Response, the Luna Ríos Response, the
                   Rosario Cuevas Response, the Agostini Aviles Response, the Arocho González
                   Response, the Colón Maldonado Response, the García Santiago Response, the
                   Irizarry Irizarry Response, the Lugo Ruberte Response, and the Ortiz Solis
                   Response, the “Responses”), regarding Proof of Claim No. 171116 (the “Pérez
                   Nieves Claim,” and together with the Minguela Vázquez Claim, the Roman
                   Morales Claim, the Santiago Ortiz Claim, the Luna Rios Claim, the Rosario Cuevas
                   Claim, the Agostini Aviles Claim, the Arocho González Claim, the Colón
                   Maldonado Claim, the García Santiago Claim, the Irizarry Irizarry Claim, the Lugo
                   Ruberte Claim, and the Ortiz Solis Claim, the “Claims”).

  Certified English translations of the Minguela Vázquez Responses, the Roman Morales Response,

  the Santiago Ortiz Response, the Luna Rios Response, the Rosario Cuevas Response, the Agostini

  Aviles Response, the Arocho González Response, the Colón Maldonado Response, the García

  Santiago Response, the Irizarry Irizarry Response, the Lugo Ruberte Response, the Ortiz Solis

  Response, and the Pérez Nieves Response are attached hereto as Exhibits “A-1,” “B-1,” “C-1,”

  “D-1,” “E-1,” “F-1,” “G-1,” “H-1,” “J-1,” “K-1,” “L-1,” “M-1,” and “N-1,” respectively.

     I.        The Minguela Vázquez Responses

          4.       On June 16, 2021—three years after the applicable Bar Date—Minguela Vázquez

  filed the Minguela Vázquez Claims. The Minguela Vázquez Claims do not explain the basis or

  amount of the claims, and they do not identify a specific agency or entity that purportedly owes

  any liabilities to Minguela Vázquez.

          5.       The Minguela Vázquez Responses consist of completed information request forms.

  Therein, Minguela Vázquez asserts that she is owed “thousands” in allegedly accrued but unpaid

  wages and employment-related benefits purportedly owed by the Puerto Rico Department of

  Education.

          6.       The Minguela Vázquez Responses do not dispute that the Minguela Vázquez

  Claims were not timely filed. Further, the Minguela Vázquez Responses do not provide an


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  explanation for Minguela Vázquez’s failure to file timely proofs of claim. Accordingly, because

  the Minguela Vázquez Responses do not dispute that the Minguela Vázquez Claims were not

  timely filed and do not provide an explanation for the failure to timely file a proof of claim, the

  Minguela Vázquez Claims should be disallowed.

     II.        The Roman Morales Response

           7.     Roman Morales filed the First Roman Morales Claim on December 7, 2020—a year

  and a half after the applicable Bar Date—and the Second Roman Morales Claim on June 11,

  2021—nearly three years after the applicable Bar Date. The Roman Morales Claims appear to

  assert liabilities associated with a civil rights case Roman Morales brought against the

  Commonwealth.

           8.     The Roman Morales Response consists of a handwritten motion. Therein, Roman

  Morales states: “the co-plaintiff is at a disadvantage as he does not know English and has not been

  able to respond to the last letter sent by this Honorable Court. Therefore, he requests of this

  Honorable Court and its Honorable Judges to please have any letter sent by this Honorable Court

  written in Spanish so that he can respond as soon as possible in order to know of this status of

  these legal proceedings because, to date, he does not know of their status to be able to respond.”

  Roman Morales Response at 1. Roman Morales further states: “the co-plaintiff has full interest

  in this case, therefore he has remained in contact to know how things are going with the case and

  in communication with this Honorable Court of Justice in order to stay up to date.” Id. The

  Roman Morales Response does not dispute that the Roman Morales Claims were not timely filed.

  Further, nothing in the Roman Morales Response explains the failure to file a timely proof of

  claim.




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            9.       Accordingly, because the Roman Morales Response does not dispute that the

  Roman Morales Claims were not timely filed and does not provide an explanation for the failure

  to timely file the proofs of claim, the Roman Morales Claims should be disallowed.

     III.         The Santiago Ortiz Response

            10.      On July 6, 2021—over three years after the applicable Bar Date—Santiago Ortiz

  filed the Santiago Ortiz Claim. The Santiago Ortiz Claim asserts liabilities associated with

  allegedly accrued, but unpaid, salary increases purportedly owed by the Puerto Rico Department

  of Education.

            11.      The Santiago Ortiz Response does not address the Debtors’ contention that the

  Santiago Ortiz Claim was not timely filed. Rather, the Santiago Ortiz Response consists of a

  completed information request form, reiterating that the Santiago Claim asserts liabilities

  associated with allegedly unpaid wage increases. Santiago Ortiz Response at 1-3.

            12.      Accordingly, the Santiago Ortiz Response does not dispute that the Santiago Ortiz

  Claim was not timely filed. Further, the Santiago Ortiz Response does not provide an explanation

  for Santiago Ortiz’s failure to file a timely proof of claim. Because the Santiago Ortiz Response

  does not dispute that the Santiago Ortiz Claim was not timely filed and does not provide an

  explanation for the failure to timely file a proof of claim, the Santiago Ortiz Claim should be

  disallowed.

     IV.          The Luna Ríos Response

            13.      On June 5, 2020—almost two years after the applicable Bar Date— Luna Ríos filed

  the Luna Ríos Claim. The Luna Ríos Claim asserts liabilities associated with allegedly accrued,

  but unpaid, wages purportedly owed by the Department of the Family. The Luna Ríos Claim

  attaches as supporting documentation one page from a resolution in a case captioned Madeline

  Acevedo Camacho y otros v. Departamento de la Familia, Case No. 2016-05-1340


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           14.      The Luna Ríos Response does not dispute that the Luna Ríos Claim was not timely

  filed. Further, the Luna Ríos Response does not explain the failure to file a timely proof of claim.

  Rather, the Luna Ríos Response, a Spanish-language, handwritten letter, states: “I object to the

  denial. I am not in agreement with the rejection, so I request I be guided as to which are the

  clarifications.” Luna Ríos Response at 1.

           15.      Accordingly, because the Luna Ríos Response does not dispute that the Luna Ríos

  Claim was not timely filed and the Luna Ríos Response does not provide an explanation for the

  failure to timely file a proof of claim, the Luna Ríos Claim should be disallowed.

     V.          The Rosario Cuevas Response

           16.      On April 27, 2020—almost two years after the applicable Bar Date—Rosario

  Cuevas filed the Rosario Cuevas Claim. The Rosario Cuevas Claim asserts liabilities associated

  with allegedly accrued, but unpaid, wage increases.

           17.      The Rosario Cuevas Response consists of a copy of the notice of objection

  attaching, among other things, a certified mail receipt. Rosario Cuevas Response at 4. That

  mailing receipt demonstrates the Rosario Cuevas Claim was mailed on April 17, 2020, nearly two

  years after the Commonwealth’s June 29, 2018 Bar Date. Further, the Rosario Cuevas Response

  does not provide an explanation for Rosario Cuevas’s failure to file a timely proof of claim.

           18.      Accordingly, because the Rosario Cuevas Claim was not timely filed and the

  Rosario Cuevas Response does not provide an explanation for the failure to timely file a proof of

  claim, the Rosario Cuevas Claim should be disallowed.

     VI.         The Agostini Aviles Response

           19.      On July 5, 2018, Agostini Aviles filed the Agostini Aviles Claim. The Agostini

  Aviles Claim asserts liabilities in an unspecified amount associated with allegedly accrued, but

  unpaid, wages purportedly owed by the Puerto Rico Department of Labor and Human Resources.


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         20.      The Agostini Aviles Response consists of a copy of the notice of objection, a

  portion of a printed statement from Agostini Aviles’s “Mi Retiro” retirement account statement,

  and a copy of the Agostini Aviles Claim. The Agostini Aviles Response does not otherwise

  address the Debtors’ contention that the Agostini Aviles Claim was not timely filed or provide any

  explanation as to Agostini Aviles’s failure to file a timely proof of claim.

         21.      Accordingly, because the Agostini Aviles Response does not dispute that the

  Agostini Aviles Claim was not timely filed and does not provide an explanation for the failure to

  timely file a proof of claim, the Agostini Aviles Claim should be disallowed.

     VII.      The Arocho González Response

         22.      On July 5, 2018, Arocho González filed the Arocho González Claim. The Arocho

  González Claim asserts liabilities in an unspecified amount associated with allegedly accrued, but

  unpaid, wages purportedly owed by the Puerto Rico Department of Education and the Puerto Rico

  Department of Social Services.

         23.      The Arocho González Response consists of a handwritten letter attaching copies of

  a notice accompanying the Three Hundred Seventy-Fourth Omnibus Objection. Therein, Arocho

  González states: “I, Ana Maria Arocho González, respectfully request that my claims not be

  rejected since they were submitted on the June 29, 2018, deadline at the Moca, P.R. Post Office.

  The volume of work was immense because it was the deadline for submitting the claim and it was

  a weekend, so the post office was full of clients. I always send all documents by mail. Due to

  an unintentional mistake, it was postmarked later.” Arocho González Response at 3.

         24.      The Bar Date Order expressly states that “[a]ll proofs of claim shall be delivered

  to and received by Prime Clerk no later than 4:00 p.m. (Atlantic Standard Time) on the

  applicable Bar Date.” Bar Date Order ¶ 13 (emphasis original). Further, the Bar Date Notice

  warned creditors that “[a]ll Proofs of Claim . . . shall be filed with the claims and noticing agent,


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  Prime Clerk LLC . . . so as to actually be received on or before the applicable Bar Date . . . .”

  Id., Exhibit 1-B at 7 (emphasis original). Although the Arocho González Claim was executed on

  June 29, 2018, the priority mail envelope attached to the Arocho González Claim was postmarked

  on June 30, 2018, the day after the Bar Date, and was stamped received by Prime Clerk on July 5,

  2018, six days after the Bar Date.       Further, the Arocho González Response provides no

  explanation for the failure to timely file the Arocho González Claim.

         25.        Accordingly, because the Arocho González Response does not dispute that the

  Arocho González Claim was not timely filed and does not provide an explanation for the failure

  to timely file a proof of claim, the Arocho González Claim should be disallowed.

     VIII. The Colón Maldonado Response

         26.        On July 2, 2018, Colón Maldonado filed the Colón Maldonado Claim. The Colón

  Maldonado Claim asserts liabilities associated with allegedly accrued, but unpaid, mileage

  payments arising from Colón Maldonado’s employment with the Puerto Rico Department of

  Education.

         27.        The Colón Maldonado Response consists of a copy of a notice in English and

  Spanish accompanying the Three Hundred Seventy-Fourth Omnibus Objection, with Colón

  Maldonado’s handwritten notes. The Colón Maldonado Response does not dispute that the Colón

  Maldonado Claim was not timely filed. Instead, the Colón Maldonado Response states: “[i]t took

  me a while to understand the details of the claim. Some English terms are hard to understand. I

  did not understand what to do.” Colón Maldonado Response at 1. The Colón Maldonado

  Response, therefore, does not provide an explanation for Colón Maldonado’s failure to file a timely

  proof of claim.




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           28.      Accordingly, because the Colón Maldonado Response does not dispute that the

  Colón Maldonado Claim was not timely filed and does not provide an explanation for the failure

  to timely file a proof of claim, the Colón Maldonado Claim should be disallowed.

     IX.         The García Santiago Response

           29.      On December 11, 2018—five months after the applicable Bar Date—García

  Santiago filed the García Santiago Claim. The García Santiago Claim asserts damages allegedly

  owed by K-Mart Puerto Rico.

           30.      The García Santiago Response consists of a completed information request form

  stating that the García Santiago Claim asserts liabilities arising out of an accident at a K-Mart store

  in Fajardo. The García Santiago Response attaches a copy of an email exchange with Prime Clerk

  dated between January and February 2019, and attaching a proof of claim filed in K-Mart’s

  bankruptcy case. It also contains a letter stating that García Santiago “answer[ed] a questionnaire

  by February 22, 2019,” and “received a second request asking us to send a second Proof of Claim

  by April 10, 2019.” García Santiago Response at 6. García Santiago does not explain why the

  first questionnaire response was sent in February 2019, months after the Bar Date, or from whom

  she allegedly received a “second request.” The García Santiago Response therefore does not

  explain why the García Santiago Claim was filed five months after the Bar Date.

           31.      Accordingly, because the García Santiago Claim was not timely filed and the

  García Santiago Response does not provide an explanation for the failure to timely file a proof of

  claim, the García Santiago Claim should be disallowed.

     X.          The Irizarry Irizarry Response

           32.      On July 3, 2018, Irizarry Irizarry filed the Irizarry Irizarry Claim. The Irizarry

  Irizarry Claim asserts liabilities associated with allegedly accrued, but unpaid, wages purportedly

  owed by the Puerto Rico Department of Education.


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           33.      The Irizarry Irizarry Response consists of two letters. The first letter, which

  attaches a copy of a notice accompanying the Three Hundred Seventy-Fourth Omnibus Objection,

  states: “I, Alejandra Jesús Irizarry Irizarry notify that, Alejandro Irizarry Lugo, my father, born on

  May 3, 1921 and died on September 30, 2005, a WW2 veteran. I am sending the document

  received back to you. The property on the address 7001 is mine as inheritance.” Irizarry Irizarry

  Response at 1. The second letter states: “I am sending a copy of my first letter sent to you on

  September 26, 2019 . . . the date of my first claim was on 7/3/2018. I am not responsible for the

  errors and economic atrocities that the administrators and politicians in my country made in the

  past.” Id. at 4. The second letter also attaches a copy of a letter dated September 26, 2019, which

  provides a breakdown of the amount allegedly owed to Irizarry Irizarry. Id. at 5. Accordingly,

  the Irizarry Irizarry Response does not dispute that the Irizarry Irizarry Claim was not timely filed,

  and does not explain the failure to file a timely proof of claim.

           34.      Because the Irizarry Irizarry Response does not dispute that the Irizarry Irizarry

  Claim was not timely filed and does not provide an explanation for the failure to file a timely proof

  of claim, the Irizarry Irizarry Claim should be disallowed.

     XI.         The Lugo Ruberte Claim

           35.      On April 18, 2019—nearly one year after the applicable Bar Date—Lugo Ruberte

  filed the Lugo Ruberte Claim. The Lugo Ruberte Claim asserts liabilities in an unspecified

  amount associated with allegedly accrued but unpaid wages purportedly owed by the Puerto Rico

  Sugar Corporation.

           36.      The Lugo Ruberte Response consists of a copy of Exhibit D to the Three Hundred

  Eighty-Second Omnibus Objection, with a handwritten note at the bottom of the last page. The

  note states: “[p]lease note for the record that I just received this today, September 24. I am

  proceeding to send this to state my interest in claim 168595 for the record, and looking forward to


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  the best answer possible.” Lugo Ruberte Response at 3. The Lugo Ruberte Response therefore

  does not dispute that the Lugo Ruberte Claim was not timely filed, and it does not explain Lugo

  Ruberte’s failure to file a timely proof of claim.

         37.      Accordingly, because the Lugo Ruberte Response does not dispute that the Lugo

  Ruberte was not timely filed and does not provide an explanation for the failure to timely file a

  proof of claim, the Lugo Ruberte Claim should be disallowed.

     XII.      The Ortiz Solis Response

         38.      On October 7, 2019—over one year after the applicable Bar Date—Ortiz Solis filed

  the Ortiz Solis Claim.      The Ortiz Solis Claim asserts allegedly accrued but unpaid wages

  purportedly owed by the Department of Corrections.

         39.      The Ortiz Solis Response consists of a copy of an information request form, which

  asserts that Ortiz Solis is a plaintiff in a multi-plaintiff litigation brought against the Department

  of Corrections by former Department of Corrections’ employees captioned Alfredo Maldonado

  Rodríguez et al. v. Zoe Laboy Alvrado, Case No. 1996-1381. Ortiz Solis Response at 1-2. The

  Ortiz Solis Response attaches a handwritten letter, reiterating the information provided in the

  information request form, and attaching copies of pleadings in the referenced multi-plaintiff

  litigation. The Ortiz Solis Response does not dispute that the Ortiz Solis was not timely filed, and

  it does not explain Ortiz Solis’s failure to file a timely proof of claim.

         40.      Accordingly, because the Ortiz Solis Response does not dispute that the Ortiz Solis

  was not timely filed and does not provide an explanation for the failure to timely file a proof of

  claim, the Ortiz Solis Claim should be disallowed.




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     XIII. The Pérez Nieves Response

         41.     On October 3, 2019—over one year after the applicable Bar Date—Pérez Nieves

  filed the Pérez Nieves Claim. The Pérez Nieves Claim asserts liabilities in an unspecified amount

  associated with allegedly accrued, but unpaid, wages.

         42.     The Pérez Nieves Response consists of a handwritten letter. Therein, Pérez Nieves

  states: “I contacted you immediately by phone and was assisted by Mr. John Valdés, who told me

  that what had happened was that I had failed to send what you had requested within the legal

  timeframe for you. I would like to let you know and clarify that as soon as I found out, which

  was through a former coworker of mine, since I was never sent a letter requesting the information

  and, in addition, I am retired (a government retiree), and you never asked me for it. Therefore, I

  submitted said information using a form that my former coworker gave me.” Pérez Nieves

  Response at 1-2. The Pérez Nieves Response does not dispute that the Pérez Nieves Claim was

  not timely filed, and it does not explain Pérez Nieves’s failure to file a timely proof of claim.

         43.     Accordingly, because the Pérez Nieves Response does not dispute that the Pérez

  Nieves Claim was not timely filed and does not provide an explanation for the failure to timely

  file a proof of claim, the Pérez Nieves Claim should be disallowed.

         44.     For the foregoing reasons, the Debtors respectfully request that the Court grant the

  Three Hundred Seventy-Fourth Omnibus Objection and disallow the Claims, notwithstanding the

  Responses.




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  Dated: February 2, 2022                   Respectfully submitted,
         San Juan, Puerto Rico
                                            /s/ Ricardo Burgos Vargas
                                            Ricardo Burgos Vargas
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